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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,                        )
                                                  )
                               Government,        )    PROPOSED ORDER
                                                  )
                v.                                )    No. 1:15-cr-00867 (RMB)
                                                  )
 REZA ZARRAB,                                     )
                                                  )
                               Defendant.         )
                                                  )

       This order amends the sealed sealing order dated May 5, 2020.

       1. The Court’s orders dated January 22, July 17, and December 4, 2018 granting the

defendant’s motion for release on bail subject to the conditions specified therein, are hereby

unsealed.

       2. The parties will inform the Court by November 12, 2021 regarding their positions as to

what extent additional unsealing is appropriate under the current circumstances.



Dated: New York, New York
       November 1, 2021




                                                  Richard M. Berman, U.S.D.J.
